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      TIMOTHY J. McILWAIN
 1    ATTORNEY AT LAW, LLC
      89 River Street #1538
 2    Hoboken, New Jersey 07030
      Tel: (877) 375-9599
 3    Fax: (609) 450-7017
      Email: Attorney@McIlwainLaw.com
 4
      JOSEPH C. CANE, JR., ESQ. (CA State Bar No. 173861)
 5    (Pro Hac Vice Application pending)
      jcane@businesslpc.com
 6    CHRISTIAN S. MOLNAR, ESQ. (CA State Bar No. 177665)
      christian@christiansmolnarlaw.com
 7    (Pro Hac Vice Application pending)
      12400 Wilshire Boulevard, Suite 1180
 8    Los Angeles, California 90025
      Tel: (310) 820-9900
 9    Fax: (310) 919-1950
10    Attorneys for Plaintiffs ASTERO, LLC, a New Jersey limited liability company, and
      ANDREA K. TANTAROS, an individual
11
12
13                        THE UNITED STATES DISTRICT COURT,
14                           FOR THE DISTRICT OF NEW JERSEY
15
16    ASTERO, LLC, a New Jersey limited             Case No.: 1:13-cv-06005-NLH-JS
17    liability company; ANDREA K.
      TANTAROS, an individual,                      [PROPOSED] ORDER GRANTING
18
                                                    PRO HAC VICE ADMISSION OF
19                 Plaintiffs,                      CHRISTIAN S. MOLNAR, ESQ.
20
             vs.
21
      TALK RADIO NETWORK
22
      ENTERTAINMENT, INC., an Oregon
23    corporation, MARK MASTERS, an
24
      individual, and Does 1 through 10,
      inclusive,
25
26                 Defendants.

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             [PROPOSED] ORDER GRANTING PRO HAC VICE ADMISSION OF
                          CHRISTIAN S. MOLNAR, ESQ.
     Case 1:13-cv-06005-NLH-JS Document 9-2 Filed 11/08/13 Page 2 of 2 PageID: 343




 1          THIS MATTER, having been opened to the Court by Attorney at Law, LLC,
 2    local counsel for Plaintiffs ASTERO, LLC, a New Jersey limited liability company, and
 3    ANDREA K. TANTAROS, an individual (hereinafter collectively referred to as
 4    “Plaintiffs,”) on application to admit pro hac vice Christian S. Molnar, Esq.; and the
 5    Court having considered the Certification of Christian S. Molnar, Esq. submitted in
 6    support thereof; and the Court having found that Christian S. Molnar, Esq. is a member
 7    in good standing before the Bar of the State of California; and for good cause shown,
 8          IT IS, on this       day of                , 2013,
 9          ORDERED, that Christian S. Molnar, Esq. be admitted pro hac vice pursuant to
10    L.Civ.R. 101.1(c), to be heard in the above-captioned action in the same manner as
11    attorneys who are domiciled in and maintain an office for the practice of law in the
12    State of New Jersey, provided that said attorney shall:
13          1.     Arrange with the New Jersey Lawyer’s Fund for Client Protection for
14    payment of the annual fee, for this year and for each year during the duration of the
15    Applicant’s involvement in this case in accordance with new Jersey Court Rule 1:28-2
16    and L.Civ.R. 101.1, said fee to be deposited within twenty (20) days of this Order;
17          2.     Abide by the Local Rules of the United States District Court for the
18    District of New Jersey and the Local Rules of Bankruptcy Procedure for the District of
19    New Jersey, including all disciplinary rules;
20          3.     Notify the Court immediately of any matter affecting his standard at the
21    Bar of any Court; and,
22          4.     Have all pleadings, briefs and other papers filed with the Court signed by
23    an attorney of record authorized to practice in this State, who shall be responsible for
24    them and for the conduct of the case; and it is further
25          ORDERED, that copy of this Order shall be served upon all parties within seven
26    (7) days hereof.
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                                                       The Honorable Joel Schneider
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             [PROPOSED] ORDER GRANTING PRO HAC VICE ADMISSION OF
                          CHRISTIAN S. MOLNAR, ESQ.
